           Case: 5:21-mj-05047-MAS Doc #: 1 Filed: 02/01/21 Page: 1 of 1 - Page ID#: 1

 AD 91 (Rev. 11/11) Criminal Complaint



                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District of Columbia

                   United States of America                               )
                              v.                                          )
                   Dalton Ray Crase                                       )     Case No.
                                                                          )
                   and                                                    )
                   Troy Dylan Williams                                    )
                                                                          )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6,2021                  in the county of                                in the
                        District of           Columbia    , the defendant(s) violated:
                                         ----------------
             Code Section                                                         Offense Description
 18 U.S.C. 2                                        Aiding and Abetting

 18 U.S.C.1752 (a)(1), (a)(2)                       Knowingly Entering or Remaining in any Restricted Building or Grounds
                                                    Without Lawful Authority

40 U.S.C. § 5104(e)(2)(D)                           Violent Entry or Disorderly Conduct on Capitol Grounds
 and (G)


          This criminal complaint is based on these facts:
See attached statement of facts.




         ~ Continued on the attached sheet.




                                                                                                  Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
Telephone (specify reliable electronic means).                                                                   2021.01.28
Date:             01/28/2021                                                                                     21:54:46 -05'00'
                                                                                                    Judge's signature

City and state:                          Washington, D.C.                          Zia M. Faruqui, U.S. Magistrate Judge
                                               ..                                                 Printed name and title
